                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                        Case No. 17-52483

PACKARD SQUARE LLC,                                           Chapter 11

               Debtor.                                        Judge Thomas J. Tucker
                                        /

                ORDER STRIKING THE “CONCURRENCES”
  FILED IN RESPONSE TO THE DEBTOR’S MOTIONS FOR RECONSIDERATION

        On October 30, 2017, the Debtor filed two motions for reconsideration (Docket ## 159,
160, the “Reconsideration Motions”), seeking reconsideration of the two orders entered by the
Court on October 13, 2017 (Docket ## 143, 145). Today the Court is entering separate orders
denying the Reconsideration Motions.

       This Order concerns the fact that several parties filed “concurrences” in support of the
Debtor’s Reconsideration Motions. Such concurrences were filed by the following parties:

1. Gaylor Electric, Inc. (Docket ## 161, 162);

2. Welling, Inc. (Docket ## 165, 171);

3. Spittler Strategic Services and Built Form Architecture, Inc. (joint filing) (Docket # 167);

4. Kitch Drutchas Wagner Valitutti & Sherbrook (Docket ## 168, 169); and

5. Harbor Development LLC (Docket ## 173, 175).1

          The Court will strike all of these “concurrences,” because they each amount to a
“response” to the Debtor’s Reconsideration Motions, and as such, are expressly prohibited by
E.D. Mich. LBR 9024-1(a)(2) and 9024-1(b). Those local rules state, with respect to a motion
for reconsideration, that “[n]o response to the motion . . . will be allowed unless the court
otherwise orders;” and with respect to a motion under Civil Rule 59(e), “no response may be
filed . . . unless the court so orders.” This Court did not order that anyone could file a response to
either of the Debtor’s Reconsideration Motions.

         Accordingly,



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             Harbor Development LLC’s concurrences, filed November 30, 2017, each disclose, in
footnote 1, that it is affiliated with the Debtor, through the common member, Craig Schubiner.



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       IT IS ORDERED that all of the “concurrences” identified in this Order, above — i.e., the
documents filed at Docket ## 161, 162, 165, 167, 168, 169, 171, 173, and 175 — are stricken
from the record of this case.


Signed on December 1, 2017




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